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                                        IN THE UNITED STATES DISTRICT COURT
                                           WESTERN DISTRICT OF ARKANSAS
                                               FAYETTEVILLE DIVISION


                  UNITED STATES OF AMERICA                                   PLAINTIFF/RESPONDENT


                         v.                     CRIMINAL NO. 12-50008-003


                  ANA VACA-GOMEZ                                             DEFENDANT/MOVANT


                              MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

                         Currently before the undersigned is the Defendant/Movant Ana Vaca-Gomez’s 28 U.S.C.

                  § 2255 motion (Doc. 392). For the reasons stated below, the undersigned recommends that the

                  motion be denied.

                  I.     Background

                         On June 27, 2012, Defendant pled guilty to aiding and abetting in the distribution of

                  methamphetamine. (Doc. 185). On November 27, 2012, Defendant was sentenced to eighty-

                  seven months imprisonment, four years of supervised release, a $15,000.00 fine, and a $100.00

                  special assessment. (Doc. 255.) Defendant appealed and the Judgment was affirmed on October

                  28, 2013. (Doc. 324). On February 11, 2015, Defendant’s sentence was reduced to 70 months

                  imprisonment pursuant to Amendment 782 of the Sentencing Guidelines. (Docs. 361, 362.)

                         On May 22, 2014, Defendant filed a § 2255 motion (Doc. 333), which was denied on July

                  16, 2015. (Docs. 364, 368). On August 1, 2016, Defendant filed the § 2255 motion that is

                  currently before the Court.




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                  II.    Discussion:

                         Defendant argues that she is entitled to a minor role reduction in her sentence based on

                  Amendment 794 to the United States Sentencing Guidelines, which modified the commentary

                  to Sentencing Guideline § 3B1.2 to address inconsistencies in the application of the guideline

                  and to provide the district courts with additional guidance in determining whether they should

                  grant minor role adjustments. Amendment 794 took effect on November 1, 2015, after

                  Defendant was sentenced. Defendant cites the Ninth Circuit case of United States v. Quintero-

                  Leyva, 823 F.3d 519 (9th Cir. 2016), which held that Amendment 794 applied retroactively to

                  cases on direct appeal. Defendant is not entitled to relief for multiple reasons.

                         First, Defendant previously filed a § 2255 motion and a “second or successive” §2255

                  motion may not be filed absent certification by the Eighth Circuit, authorizing the district court

                  to consider the successive motion. See 28 U.S.C. §2244(b)(3)(a).

                         A second or successive motion must be certified as provided in section 2244 by
                         a panel of the appropriate court of appeals to contain—

                         (1) newly discovered evidence that, if proven and viewed in light of the evidence
                         as a whole, would be sufficient to establish by clear and convincing evidence that
                         no reasonable factfinder would have found the movant guilty of the offense; or

                         (2) a new rule of constitutional law, made retroactive to cases on collateral
                         review by the Supreme Court, that was previously unavailable.

                  28 U.S.C. § 2255(h).

                         The Eighth Circuit has indicated that when, as in this case, a second § 2255 motion is

                  filed in the district court without prior compliance with the certification requirement, the motion

                  should be dismissed. See Boykin v. United States, No. 99-3369, 2000 WL 1610732, at *1 (8th

                  Cir. Oct. 30, 2000). The certification rule is absolute and prisoners may not evade the statutory


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                  requirement by simply filing a second or successive § 2255 motion in the district court.

                  Defendant's second § 2255 motion has not been certified by the Eighth Circuit, and is therefore

                  subject to dismissal.

                         Defendant’s motion is subject to dismissal on the merits as well.        It appears that the

                  motion filed by the Defendant is a type of form motion that is being filed by inmates throughout

                  the Bureau of Prisons. The motion has been uniformly denied as without merit by district courts

                  across the country. See e.g., United States v. Hunley, Nos. 7:14CR00050, 7:16CV81151, 2016

                  WL 4523417 (W.D. Va. Aug. 26, 2016); Griselda Ruiz-Loya v. United States, Nos. EP-16-CV-

                  405-KC, EP-CR-304-KC-1, 2016 WL 5717881 (W.D. Tex. Sept. 30, 2016); United States v.

                  Juana Reyes-Cordova, No. 15-CR-0087, 2016 WL 5348575 (D. Minn. Sept. 23, 2016); United

                  States v. Yanez, Nos. 13cr3515-LAB-1, 16cv1964-LAB, 2016 WL 4248541 (S.D. Cal. Aug. 11,

                  2016); Sandidge v. United States, No. 16-cv-00871-JPG (S. D. Ill. Aug. 5, 2016).

                         As held by these other courts, Defendant is not entitled to relief under § 2255, as she is

                  not asserting any grounds for relief cognizable under § 2255(a). Section 2255(a) authorizes a

                  sentencing court to “vacate, set aside or correct” a sentence that was “imposed in violation of the

                  Constitution or laws of the United States.” 28 U.S.C. § 2255(a). The claimed violation must be

                  a fundamental defect which inherently results in a complete miscarriage of justice. Gray v.

                  United States, No. 15-3223, 2016 WL 4363164, at *3 (8th Cir. Aug. 16, 2016). Anything less

                  is not cognizable under § 2255. Id. As held by other courts that have addressed § 2255 motions

                  predicated upon Amendment 794, claims for a reduction in sentence based on the retroactive

                  application of amendments to the guidelines are not cognizable under § 2255. See Hunley, 2016

                  WL 4523417, at * 1; Ruiz-Loya, 2016 WL 5717881, at *3; Yanez, 2016 WL 4248541, at *1;


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                  Sandidge, 2016 WL 4154929, at *2. The type of claim brought by Defendant must be brought

                  under 18 U.S.C. § 3582. See id. Even construing Defendant’s motion as seeking a sentencing

                  reduction under § 3582, however, she is not entitled to relief, as the United States Sentencing

                  Commission did not make Amendment 794 retroactive to all cases. See id.; USSG § 1B1.10(d)

                  (2015) (listing retroactive guideline amendments). Defendant’s reliance on Quintero-Leyva , a

                  Ninth Circuit case which is not binding on this Court, is misplaced, as Quintero-Leyva did not

                  make Amendment 794 retroactively applicable to cases on collateral review, but only to cases

                  on direct review.

                  III.   Conclusion

                         Based upon the forgoing, the undersigned recommends that Defendant’s § 2255 motion

                  (Doc. 392) be dismissed with prejudice.

                         An appeal may not be taken in this matter unless the Court issues a certificate of

                  appealability, which shall be issued only if "the applicant has made a substantial showing of the

                  denial of a constitutional right." 28 U.S.C. § 2253(b) & (c)(2). A "substantial showing" is a

                  showing that “issues are debatable among reasonable jurists, a court could resolve the issues

                  differently, or the issues deserve further proceedings.” Cox v. Norris, 133 F.3d 565, 569 (8th Cir.

                  1997), cert. denied, 525 U.S. 834 (1998). Based upon the above analysis of Defendant’s § 2255

                  motion, the undersigned does not believe that there is any basis for the issuance of a certificate

                  of appealability and, therefore, recommends, that a certificate of appealability be denied.

                         The parties have fourteen days from receipt of this report and recommendation in

                  which to file written objections pursuant to 28 U.S.C. Section 636(b)(1). The failure to file

                  timely written objections may result in waiver of the right to appeal questions of fact. The


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                  parties are reminded that objections must be both timely and specific to trigger de novo

                  review by the district court.

                         Dated this 11th day of October, 2016.




                                                                       /s/ Erin L. Setser
                                                                        HON. ERIN L. SETSER
                                                                        UNITED STATES MAGISTRATE JUDGE




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